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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

IN RE:                                              CHAPTER 13 PROCEEDINGS
MICHELLE LYNN BRUMMETT
RICHARD NELSON BRUMMETT                             CASE NO: 14-22740 JRA
   Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

       Pursuant to Federal Bankruptcy Rule 3002.1(f), the Trustee filed Notice that the amount
required to cure the default in the below claim has been paid in full, and the ongoing post-petition
payments are current.

Name of Creditor: JP MORGAN CHASE
Court Claim No.: 13

Last four (4) digits of any number used to identify the Debtor’s account: 0263


Final Cure Amount:

       Amount of Allowed Pre-Petition Arrearage: $14,891.05

       Amount Paid By Trustee                          $14,891.05


Monthly Ongoing Mortgage Payment is Paid:

       ___ Through the Chapter 13 Trustee conduit          ___ Direct by the Debtor


        Within 21 days of the service of this Notice, the creditor must file and serve same on the
Debtor, Debtor’s counsel and the Trustee, pursuant to Federal Bankruptcy Rule 3002.1(g), a
Statement indicating whether it agrees that the Debtor has paid in full the amount required to cure the
default and whether, consistent with Federal Bankruptcy Rule 1322(b)(5), the Debtor is otherwise
current on all the payments or be subject to further action of the Court including possible sanctions.


Dated: October 1, 2019                              Respectfully Submitted:

                                                    /s/ Paul R. Chael
                                                    Standing Chapter 13 Trustee
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                                    CERTIFICATE OF SERVICE

I hereby certify that on October 1, 2019, service of a true and complete copy of the above and
foregoing pleading or paper was electronically sent through the court’s ECF system to the following
parties:

U.S. Trustee
Attorney for Debtor(s): DAN WHITTEN
Attorney for Creditor – JESSICA OWENS

and upon the following by depositing the same in the United States mail, envelopes properly address
to each of them and with sufficient first-class postage affixed.

Debtor(s) - MICHELLE LYNN and RICHARD NELSON BRUMMETT, PO BOX 74, WHEELER,
IN 46393 ,
Creditors(s) – JP MORGAN CHASE, 3415 VISION DR, OH-7033, COLUMBUS, OH 43219

                                                      Paul R. Chael /s/
                                                      Paul R. Chael, Chapter 13 Trustee
                                                      401 West 84th Drive, Suite C
                                                      Merrillville, IN 46410
